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                                      ANEXO A

Relación de reclamaciones objeto de la Quingentésima octogésima primera objeción global
                                 Case:17-03283-LTS Doc#:24752-2 Filed:07/14/23 Entered:07/14/23 19:44:53                                                       Desc:
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                                                          Quingentésima Octogésima Primera Objeción Global
                                                           Anexo A-1 - Reclamos para Reclasificar y Admitir
                                                                                  ALEGADOS                                                           MODIFICADOS Y ADMITIDOS

                                 N.º DE                                                   ESTADO DE                                                                      ESTADO DE
    NOMBRE                       RECLAMACIÓN DEUDOR                                       PRIORIDAD             IMPORTE          DEUDOR                                  PRIORIDAD        IMPORTE

1   COLLAZO NIEVES, LUIS                 2092        El Estado Libre Asociado de Puerto    503(b)9                 $7,931.00*    El Estado Libre Asociado de Puerto      No Garantizada         $7,931.00
    JOSE A. ALVAREZ NEGRON                           Rico                                                                        Rico
    PO BOX 2525 CMB 22
    UTUADO, PR 00641-0516

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos , sección 503(b)(9), pero la evidencia de reclamo no
    corresponde a bienes vendidos y, por lo tanto, el demandante no tiene derecho ella. La Evidencia de Reclamo, los documentos adjuntos a esta y/o la documentación adicional aportada
    por el Demandante, y/o la Autoridad de Asesoría Financiera y Agencia Fiscal de Puerto Rico respaldan una cifra total de $7 ,931.00 por el Reclamo, siendo que dicho monto liquida por
    completo el Reclamo.
2   DAISY VELEZ ORTIZ Y                 44455        El Estado Libre Asociado de Puerto    Garantizada          Indeterminado*   El Estado Libre Asociado de Puerto      No Garantizada         $5,212.50
    JOSE MARTINEZ                                    Rico                                                                        Rico
                                                     El Estado Libre Asociado de Puerto    No Garantizada          $5,212.50*
    RODRIGUEZ                                        Rico
    LCDA. AMELIA M.
    CINTRON VELAZQUEZ                                                                                Subtotal      $5,212.50*
    URB. SAN ANTONIO 1939
    AVE. LAS AMERICAS
    PONCE, PR 00728-1815

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía.
    La Evidencia de Reclamo, los documentos adjuntos a esta y/o la documentación adicional aportada por el Demandante, y/o la Autoridad de Asesoría Financiera y Agencia Fiscal de
    Puerto Rico respaldan una cifra total de $5,212.50 por el Reclamo, siendo que dicho monto liquida por completo el Reclamo.
3   DISTRIBUIDORA TITAN                173972        El Autoridad de Edificios Públicos de 503(b)9                    $645.48    El Autoridad de Edificios Públicos de   No Garantizada          $645.48
    POWER                                            Puerto Rico                                                                 Puerto Rico
    1275 AVE JESUS T PINEIRO
    SAN JUAN, PR 00920

    Base para: Los bienes enumerados en el reclamo se recibieron por fuera del periodo prescrito de recepción de 20 días conforme a 11 U.S.C. § 503(b)(9) y, por lo tanto, no tienen
    derecho a una prioridad administrativa. Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía por el monto de $645 .48.




    * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                               1
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                                                          Quingentésima Octogésima Primera Objeción Global
                                                           Anexo A-1 - Reclamos para Reclasificar y Admitir
                                                                                     ALEGADOS                                               MODIFICADOS Y ADMITIDOS

                                 N.º DE                                                   ESTADO DE                                                             ESTADO DE
    NOMBRE                       RECLAMACIÓN DEUDOR                                       PRIORIDAD      IMPORTE        DEUDOR                                  PRIORIDAD        IMPORTE

4   ELIEZER SANTANA BAEZ                4252         El Estado Libre Asociado de Puerto    Garantizada     $2,000.00*   El Estado Libre Asociado de Puerto      No Garantizada         $2,000.00
    CIVIL NUM.: DDP20140229                          Rico                                                               Rico
    ELIEZER SANTANA BAEZ
    INDUSTRIAL LUCHETTI
    50 CARR #5 UNIT 501 EDIF
    2J
    BAYAMÓN, PR 00961-7403

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía.
    La Evidencia de Reclamo, los documentos adjuntos a esta y/o la documentación adicional aportada por el Demandante, y/o la Autoridad de Asesoría Financiera y Agencia Fiscal de
    Puerto Rico respaldan una cifra total de $2,000.00 por el Reclamo, siendo que dicho monto liquida por completo el Reclamo.
5   MARTÍNEZ MORÁN,                     38283        Autoridad de Carreteras y             Garantizada     $7,500.00*   Autoridad de Carreteras y               No Garantizada         $7,500.00
    MANUEL                                           Transportación de Puerto Rico                                      Transportación de Puerto Rico
    HC-01 BOX 4780
    CAMUY, PR 00627

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía.
    La Evidencia de Reclamo, los documentos adjuntos a esta y la documentación adicional aportada por el Demandante y /o la Autoridad de Asesoría Financiera y Agencia Fiscal de Puerto
    Rico avalan un total de $7,500.00 para el Reclamo, monto que liquida por completo el Reclamo.
6   MIGUEL A MIR Y                     173756        El Autoridad de Edificios Públicos de Garantizada     $15,455.50   El Autoridad de Edificios Públicos de   No Garantizada      $15,455.50
    ASOCIADOS                                        Puerto Rico                                                        Puerto Rico
    P.O. BOX 240
    TRUJILLO ALTO, PR 00977

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía
    por el monto de $15,455.50.




    * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                      2
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                                                          Quingentésima Octogésima Primera Objeción Global
                                                           Anexo A-1 - Reclamos para Reclasificar y Admitir
                                                                                  ALEGADOS                                                           MODIFICADOS Y ADMITIDOS

                                 N.º DE                                                   ESTADO DE                                                                   ESTADO DE
    NOMBRE                       RECLAMACIÓN DEUDOR                                       PRIORIDAD             IMPORTE          DEUDOR                               PRIORIDAD        IMPORTE

7   RODRIGUEZ FIGUEROA,                 6295         El Estado Libre Asociado de Puerto    503(b)9              Indeterminado*   El Estado Libre Asociado de Puerto   No Garantizada     $103,500.00
    FELIX                                            Rico                                                                        Rico
                                                     El Estado Libre Asociado de Puerto    Garantizada          Indeterminado*
    6 CALLE ANTONIO CONDE                            Rico
    ADJUNTAS, PR 00601
                                                                                                     Subtotal   Indeterminado*


    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía.
    El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos , sección 503(b)(9), pero la evidencia de reclamo no corresponde a bienes
    vendidos y, por lo tanto, el demandante no tiene derecho a una prioridad administrativa. La Evidencia de Reclamo, los documentos adjuntos a esta y/o la documentación adicional
    aportada por el Demandante, y/o la Autoridad de Asesoría Financiera y Agencia Fiscal de Puerto Rico respaldan una cifra total de $103 ,500.00 por el Reclamo, siendo que dicho monto
    liquida por completo el Reclamo.
8   SANTANA BAEZ, ELIEZER               4245         El Estado Libre Asociado de Puerto    Garantizada            $75,000.00*    El Estado Libre Asociado de Puerto   No Garantizada      $75,000.00
    PRO SE ELIEZER SANTANA                           Rico                                                                        Rico
    BÁEZ
    50 CARR. 5 UNIDAD
    ANEXO 501 EDIF. 3
    J INDUSTRIAL LUCHETTI
    BAYAMÓN, PR 00961-7403

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía.
    La Evidencia de Reclamo, los documentos adjuntos a esta y la documentación adicional aportada por el Demandante y /o la Autoridad de Asesoría Financiera y Agencia Fiscal de Puerto
    Rico avalan un total de $75,000.00 para el Reclamo, monto que liquida por completo el Reclamo.
9   TAVAREZ GUZMAN,                     70356        El Estado Libre Asociado de Puerto    503(b)9                $39,914.50*    El Estado Libre Asociado de Puerto   No Garantizada      $39,914.50
    WANDA I                                          Rico                                                                        Rico
    3407 CALLE MELODIA
    ISABELA, PR 00662

    Base para: El Demandante reclamó una prioridad administrativa en virtud del título 11 del Código de los Estados Unidos , sección 503(b)(9), pero la evidencia de reclamo no
    corresponde a bienes vendidos y, por lo tanto, el demandante no tiene derecho ella. La Evidencia de Reclamo, los documentos adjuntos a esta y/o la documentación adicional aportada
    por el Demandante, y/o la Autoridad de Asesoría Financiera y Agencia Fiscal de Puerto Rico respaldan una cifra total de $39 ,914.50 por el Reclamo, siendo que dicho monto liquida
    por completo el Reclamo.




    * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                            3
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                                                           Quingentésima Octogésima Primera Objeción Global
                                                            Anexo A-1 - Reclamos para Reclasificar y Admitir
                                                                                   ALEGADOS                                                  MODIFICADOS Y ADMITIDOS

                                  N.º DE                                                   ESTADO DE                                                          ESTADO DE
     NOMBRE                       RECLAMACIÓN DEUDOR                                       PRIORIDAD    IMPORTE          DEUDOR                               PRIORIDAD        IMPORTE

10   TECHNICAL POWER                     34362        El Estado Libre Asociado de Puerto    503(b)9            $550.00   El Estado Libre Asociado de Puerto   No Garantizada            $550.00
     SERVICES                                         Rico                                                               Rico
     PO BOX 3826
     GUAYNABO, PR 00970

     Base para: Los bienes enumerados en el reclamo se recibieron por fuera del periodo prescrito de recepción de 20 días conforme a 11 U.S.C. § 503(b)(9) y, por lo tanto, no tienen
     derecho a una prioridad administrativa. Por consiguiente, el reclamo se reclasificó como un reclamo general sin garantía por el monto de $550 .00.




     * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                    4
                                 Case:17-03283-LTS Doc#:24752-2 Filed:07/14/23 Entered:07/14/23 19:44:53                                                       Desc:
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                                                           Quingentésima Octogésima Primera Objeción Global
                                                            Anexo A-2: Reclamos para Reclasificar y Admitir
                                                                                   ALEGADOS                                                           MODIFICADOS Y ADMITIDOS

                                 N.º DE                                                    ESTADO DE                                                                   ESTADO DE
    NOMBRE                       RECLAMACIÓN DEUDOR                                        PRIORIDAD             IMPORTE          DEUDOR                               PRIORIDAD        IMPORTE

1   CARIBBEAN DATA SYSTEM               36199         El Estado Libre Asociado de Puerto    503(b)9                 $15,566.00    El Estado Libre Asociado de Puerto   No Garantizada      $14,676.00
    URB SAN PATRICIO                                  Rico                                                                        Rico
    636 AVE SAN PATRICIO
    SAN JUAN, PR 00920-4507

    Base para: El demandante invocó la prioridad administrativa en virtud del artículo § 503(b)(9) del título 11 del U .S.C., pero las mercancías enumeradas en la Evidencia de Reclamo se
    recibieron fuera del plazo de recepción de 20 días estipulado en el artículo § 503(b)(9) del título 11 del U .S.C. y, por lo tanto, el demandante no tiene derecho a la prioridad
    administrativa. Por consiguiente, el reclamo se reclasificó como un crédito quirografario por el monto de $14 ,676.00, siendo que dicho monto liquida por completo el Reclamo.
    Reclamo n.º 36199 incluido también en el Anexo A de la Objeción Global 372 por Reclamos Modificados
2   COMPUTER ACCESSORIES               146748         El Estado Libre Asociado de Puerto    503(b)9              Indeterminado*   El Estado Libre Asociado de Puerto   No Garantizada         $3,581.40
    DISCOUNT INC.                                     Rico                                                                        Rico
                                                      El Estado Libre Asociado de Puerto    Garantizada            $13,000.00*
    URB. MARIANI                                      Rico
    2326 CALLE DR.
    SANTAELLA                                                                                         Subtotal     $13,000.00*
    PONCE, PR 00717-0210

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un crédito quirografario por el
    monto de $3,581.40, siendo que dicho monto liquida por completo el Reclamo.
    Reclamo n.º 146748 incluido también en el Anexo A de la Objeción Global 372 por Reclamos Modificados
3   MECANICA TITO                       82686         El Estado Libre Asociado de Puerto    503(b)9                $13,572.00*    El Estado Libre Asociado de Puerto   No Garantizada         $4,533.55
    JOSE R. GONZALEZ                                  Rico                                                                        Rico
                                                      El Estado Libre Asociado de Puerto    Garantizada          Indeterminado*
    PO BOX 310                                        Rico
    CIALES, PR 00638
                                                                                                      Subtotal     $13,572.00*


    Base para: El demandante invocó la prioridad administrativa en virtud del artículo § 503(b)(9) del título 11 del U .S.C., pero las mercancías enumeradas en la Evidencia de Reclamo se
    recibieron fuera del plazo de recepción de 20 días estipulado en el artículo § 503(b)(9) del título 11 del U .S.C. y, por lo tanto, el demandante no tiene derecho a la prioridad
    administrativa. Por consiguiente, el reclamo se reclasificó como un crédito quirografario por el monto de $4 ,533.55, siendo que dicho monto liquida por completo el Reclamo.
    Reclamo n.º 82686 incluido también en el Anexo A de la Objeción Global 391 por Reclamos Modificados




    * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                             1
                                 Case:17-03283-LTS Doc#:24752-2 Filed:07/14/23 Entered:07/14/23 19:44:53                                               Desc:
                                                            Anexo A Page 7 of 7
                                                         Quingentésima Octogésima Primera Objeción Global
                                                          Anexo A-2: Reclamos para Reclasificar y Admitir
                                                                                     ALEGADOS                                              MODIFICADOS Y ADMITIDOS

                                 N.º DE                                                 ESTADO DE                                                              ESTADO DE
    NOMBRE                       RECLAMACIÓN DEUDOR                                     PRIORIDAD      IMPORTE         DEUDOR                                  PRIORIDAD        IMPORTE

4   ROUBERT GONZALEZ,                   61473        Autoridad de Carreteras y           Garantizada        $185.00*   Autoridad de Carreteras y               No Garantizada         $185.00
    HECTOR A.                                        Transportación de Puerto Rico                                     Transportación de Puerto Rico
    BO BELGICA
    5220 CALLE CARACAS
    PONCE, PR 00717

    Base para: El demandante omitió proporcionar pruebas evidentes para apoyar un reclamo garantizado . Por consiguiente, el reclamo se reclasificó como un crédito quirografario por un
    monto de $185.00, que liquida por completo el Reclamo.




    * Indica que la reclamación contiene montos por liquidar o indeterminados                                                                                                     2
